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                       Exhibit D
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                                         Niederschrift

                      der auierordenttichen Gesetlschafterversamrnlung der

                                  Lipoid GrundstUcks-GrnbH

                             HRB 3812, Arntsgericht Ludwigshafen

                                     am 9.12013 urn 8 Uhr

                               in 67435 Neustadt FUrstenweg 13



A.      Bete iligungsverhàltnlsse

Das Stammkapital der Geseltschaft betrâgt DM 300.000,00 und 1st volt eingezahlt. An der
Geseflschaft sind die Gesetisohafter wie tolgt beteitigt:

Dr. Herbert Rebmann                                                      OM 120.000,00

Birgit Rebmann                                                           DM 90.000,00

Garten F,ernar.n                                                         DM 30.000,00

Helge Rebmann                                                            DM 30.00000

Balder Rebmann                                                           DM 30.000,00

Gesamt:                                                                  DM 300.00O0O




B.      Tellnehrner

Dr. Herbert Rebmann

Birgit Rebmann

Helge Rebmann vertreten durch Frau Birgit Rebmann

Balder Rebmann vertreten druch Herrn Dr,Herbert Rebmann

Nicht erschienen: Carsten Rebmann
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Hinzu tritt, class Herr Carsten Rebmann die lnternetdomain fÜr kommerzieUe Zwecke aktiv
nutzt. Kunden und Geschftsparther sind irritiert und erreichen ihre gewUnschten Ge
sprchspartner nicht.

Ourch die Treuepflichtverletzungen von Herm Carsten Rebmann steht zu befUrchten, dass
der gesamten Lipoid-Gruppe ein erhabUcher materieller und immaterieller Schaden zugefugt
wird. Das gilt letztlich auch für die Lipoid Grundstücks-GrnbH, deren wIrtschaftliche lnteres
sen integrafer Bestandteil der Lipoid-Gruppe sind und damit von den treuwidrigen Aktivitten
von Herrn Carsten Rebmann mittelbar verletzt werden.

Den Ubrigen Gesellschaftern sei daher eine Fortsetzung der GeseHschaft mit Herrn Carsten
Rebmann nicht mehr zuzumuten.

        § ii der Satzung bestimrnt: Ein Geseflschafter kann durch Gesellschafterbeschluss
        aus der GeseHschaft ausgeschlossen werden,wenn in seiner Person ein wichtiger
        Grund vorliegt,so class den Obrigen Gesellschaftern die Fortsetzung der Gesellschaft
        mit dem in Frage stehenden Mitgesellschafter in Foige seines Verhaltens oder seiner
        PersOnlichkeit nicht mehr zuzumutan 1st.

Die anwesenden Geseflschafter beschlossen sodann einstirnmig:

Herr C.arsten Matthias Rebmann wird gem. § 11 Abs. I Satz 1 aus der Gesellschaft
ausgeschlossen.




2.             Beschtuss Ober die Einziehung des Geschäftsanteils von Herrn Carsten
               Matthias Rebmann gegen Zahiung elner Abfindung gem. § 11 Abs. 2
               Satz 2 1 V. m. § 13 des Gesellschaftsvertrages




Die anwesenden Geseilsohafter beschlossen einstimmig:

1,      Der Geschäftsanteli von Herm Carsten Rebmann im Nennbetrag von DM 30,00000
        wsrd gerna(I § 11 Abs 2 Satz 2 des Geseflschaftsvertrages eingezogen

2.      Der Geschâftsführer Dr. Herbert Rebmann wird beauftragt, Herrn Carsten Rebmann
        gegenUber die Einziehung seines Geschäftsanteils schrifthch zu erklären,

3.      Der Geschäftsführer Dr. Herbert Rebmann wlrd ferner beauftragt, den Betrag der
        gem. § 11 Abs. 3 i.V.m § 13 zu zahlenden Abfmndungssurne zu ermitteln und these -
        nach Verrechnung mit allen GegenansprQchen, die der Gosellschaft zustehen - an
        Herrn Carsten Rebmann auszuzahlen,

                                                                                                ('L
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4.     Anstelte des eingezogenen GeschftsnteiIs wird eiri neuer GeschftsanteiI im
       Nennbetrag von OM 30.00000 gebUdet, der der Geseflschaft ats elgener zusteht und
       von ihr Ctbernornmen wfrd.



Der Versammfungsleiter verkUndete das Ergebnis ailer gefassten BeschlUsse und steflte die
Beschlusse darnit fest.

Der Versammlungsteiter schloss die Gesellschafterversarnrnlung urn 8.30 Uhr,



Neustadt, 9.1.2013




        L
Dr. Herbert Rebmann
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Anwesenheitsliste

Aui3erordentliche Gesellschafterversainrniung der Lipoid GrundstUcks GmbH




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Translation of Niederschrift Lipoid Grundstücks GmbH 20130109

Minutes of the extraordinary shareholder meeting of Lipoid Grundstücks-GmbH HRB 3812, local
court Ludwigshafen, on 9th January 2013 at 8:00 a.m. in 67435 Neustadt Furstenweg 13

A. Ownership relations
The common stock of the company amounts to DM 300,000.00 and has been fully paid. The
shareholders have the following stake in the company:
Dr. Herbert Rebmann           DM 120,000.00
Birgit Rebmann                DM 90,000.00
Carsten Rebmann               DM 30,000.00
Helge Rebmann                 DM 30,000.00
Balder Rebmann                DM 30,000.00
Total                         DM 300,000.00

B. Participants
Dr. Herbert Rebmann
Birgit Rebmann
Helge Rebmann represented by Ms. Birgit Rebmann
Balder Rebmann represented by Dr. Herbert Rebmann
not appeared: Carsten Rebmann

[...}

1. Decision on the exclusion of Mr. Carsten Matthias Rebmann as shareholder for important
cause

The present shareholders justified the exclusion of Mr. Carsten Rebmann with his violation of
the general fiduciary duty towards the society and towards the co-shareholders (BGHZ 65, 15f,
17,18).

The content of the fiduciary duty is to protect the interests of the GmbH as its shareholder;
especially not to impair it through a damaging conduct and accordingly to consider the common
interests of the co-shareholders and of affiliated companies. Mr.. Carsten Rebmann has
violated his fiduciary duty in multiple respects.

For instance, he has not fulfilled his duties as Managing Director during his time as Managing
Director of the affiliated companies American Lecithin Company and Lipoid LLC; he has not
prepared and submitted balance sheets and tax returns despite repeated requests. Thereby, he
has damaged the reputation of the group.

Mr Carsten Rebmann registered internet domains in his own name and after his exit as
managing director he blocked all correspondence through the domain names registered by him
[awkward in German as well]. Employees of the Lipoid Group have no longer access to their
former accounts and to the incoming personal and business-related messages. He directs the
user of the homepage of ALC to a page that is only accessible to him and claims on top of this
that this is the only official page of the company. Thereby he naturally directly damaged the
company.

Additionally, Mr. Carsten Rebmann uses the Internet domains actively for commercial purposes.
Customers and business partners are confused and don't reach their desired correspondents.
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It is to be feared that the entire Lipoid Group will suffer substantial material and immaterial
damages due to Mr Carsten Rebmann's violations of fiduciary duty. This applies finally to Lipoid
Grundstücks GmbH as well; its economic interests are an integral part of the Lipoid Group and
are damaged indirectly by the acts of bad faith of Mr Carsten Rebmann.

Therefore, it can no longer be expected of the other shareholders that they continue the
company with Mr. Carsten Rebmann.

Paragraph 11 of the bylaws stipulates: A shareholder can be excluded from the company
through decision of the shareholders, if there is an important reason in this person [sic! awkward
and unclear in German], so that the other shareholders can no longer be expected to continue
the company with the questionable co-shareholder as a result of his conduct or his personality
[points rather to character flaws than to actions].

The present shareholder decided thereafter unanimously:
Mr. Carsten Matthias Rebmann is excluded from the company according to paragraph 11
section 1 sentence 1.

2. Decision on the forfeiture of the share of Mr. Carsten Matthias Rebmann against payment of
a compensation according to paragraph 11 section 2 sentence 2 in connection with paragraph
13 of the shareholder contract.

The present shareholders decide unanimously:
1. The Shares of Mr. Carsten Rebmann that nominally amount to DM 30,000.00 is forfeit
according to paragraph 11 section 2 sentence 2 of the shareholder contract.

2. The managing director Dr. Herbert Rebmann is commissioned to declare the forfeiture of his
share to Mr. Carsten Rebmann in writing [has not happend, I only received the minutes].

3. The managing director Dr. Herbert Rebmann is further commissioned to assess the payable
amount of the compensation according to paragraph 11 section 3 in connection with paragraph
13 and to pay this amount to Mr Carsten Rebmann, after all counter-claims that the company
owns have been deducted.

4. In lieu of the forfeit shares a new block of shares if created with the nominal value of DM
30,000.00 that are owned by the company and taken over by her.

The leader of the meeting anounced the result of all decisions made and thereby determined
the decisions.

The leader of the meeting closed the shareholder meeting at 8:30am.

Neustadt, 9th January 2013

[signed] Dr. Herbert Rebmann

[on bottom of page: abbreviated signature] Birgit Rebmann
